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 1
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 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant Hidayatullah Ali Khalil
 4
 5
 6                         IN THE UNITED STATES DISTRICT COURT

 7                      FOR THE EASTERN DISTRICT OF CALIFORNIA

 8
                                                   )   Case No.: 2:09-CR-0258-GEB
 9   UNITED STATES OF AMERICA,                     )
                                                   )   STIPULATION AND [PROPOSED]
10                 Plaintiff,                      )   ORDER
                                                   )
11       vs.                                       )
     MUZDHA KHALIL,                                )   Date: December 6, 2011
12                                                 )   Time: 9:00 a.m.
     AMANULLAH KHALIL,                             )   Judge: Hon. Garland E. Burrell, Jr.
13   HIDAYATULLAH ALI KHALIL, and                  )
     WAHIDULLAH KHALIL,
14
                   Defendants.
15
16
            IT IS HEREBY stipulated and agreed to between all parties, that the Trial
17
     Confirmation Hearing scheduled for November 18, 2011 should be vacated, and reset for
18
     July 6, 2012. It is also stipulated and agreed to between all parties, that the jury trial
19
     scheduled for December 6, 2011 should be vacated, and reset for July 31, 2012.
20
            The parties further stipulate and agree that the period from the date of this
21
     stipulation through and including July 31, 2012, be excluded in computing the time
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     within which trial must commence under the Speedy Trial Act, pursuant to 18 U.S.C. §
23
     3161(h)(7)(B)(iv) and Local T4. Counsel for defendants require additional time for
24
     continuity of counsel and preparation of counsel for trial. Accordingly, all parties
25
     stipulate and agree that the interests of justice served by granting this continuance
26
     outweigh the best interests of the public and the defendants in a speedy trial. 18 U.S.C.
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     §3161(h)(7)(B)(iv).
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 1   Dated:       November 15, 2011                   Respectfully Submitted,
 2
 3
                                                      /s/ Thomas A. Johnson
                                                      THOMAS A. JOHNSON
 4                                                    Attorney for Defendant
                                                      HIDAYATULLAH ALI KHALIL
 5
 6   Dated:       November 15, 2011                   /s/ Thomas A. Johnson for
                                                      CANDACE FRY
 7
                                                      Attorney for
 8                                                    WAHIDULLAH KHALIL
 9
     Dated:       November 15, 2011                   /s/ Thomas A. Johnson for
10                                                    CARO MARKS
                                                      Attorney for
11                                                    MUZDHA KHALIL
12
     Dated:       November 15, 2011                   /s/ Thomas A. Johnson for
13                                                    CHRIS HAYDN-MYER
14                                                    Attorney for
                                                      AMANULLAH KHALIL
15
16
     Dated:       November 15, 2011                   BENJAMIN B. WAGNER
17                                                    United States Attorney
18
                                                      /s/ Thomas A. Johnson for
19                                                    DOMINIQUE N. THOMAS
20                                                    Assistant U.S. Attorney

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 1
                                             ORDER

 2
            IT IS HEREBY ORDERED: That the Trial Confirmation Hearing scheduled for
 3
     November 18, 2011 is vacated, and reset for July 6, 2012. It is also ordered that the jury
 4
     trial scheduled for December 6, 2011 is vacated, and reset for July 31, 2012. It is further
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     ORDERED that the time under the Speedy Trial Act between today’s date and July 31,
 6
     2012, is excluded under Local Code T4, and 18 U.S.C. § 3161(h)(7), to ensure continuity
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     of counsel and adequate time for defense counsel to prepare for trial. For the reasons set
 8
     forth above, the court finds that the ends of justice served by a continuance outweigh the
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     best interests of the public and the defendant in a speedy trial and therefore excludes time
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     through July 31, 2012.
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     11/17/11
12
13
                                            GARLAND E. BURRELL, JR.
14                                          United States District Judge
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